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WARRIOR| : I don't know. I never met the guy. I don’t go to his movies or know anything

out where his head is at. As I do. about all the young guys in the business, I don't criticize
them so much. They are young and building their philosophies of life, In their heads they
aren't going to be in the same place I am. Let's wait and see if they think and act like grown
ups when they do grow up. It's the Hogans and the Pipers and the Flairs and others their age I
don't have any respect for.

FLYNN |: Eric Bischoff.
WARRIOR): Hmmm. I don't know...
FLYNN |: You don’t know him enough?

WARRIOR]: I know him enough, It’s just that what I have to say as well about him is
eritical and it sounds like I am always critical of people and L am not, it's just that I'm very
hard on myself as a grown man, so 1 am on others. Let's see, Bischoff. He was a nice enough
guy, I suppese—seemed, at first, to be anyway. I wasn't pleased about how things turned out
and that they had different plan than the one they said they did to get me to come in. It was
initially very disappointing. Ultimate Warrior as a character could have really been used to
great benefit. It always turns my stomach to see guys talk tough but not have the moral
backbone to back it up. Agian, the truth is those guys hated Vince and used tons of TV time
mocking him and lashing out at him. And then later they crawled over there [to WWF]
begging for jobs. That's a whole lot of pride to swallow, man. 1 think probably to do so, you
have to have had plenty of practice over the years to, well, let's say accommodate that kind of
swallowing. I didn't believe that about those guys, Bischoff and Hogan and the others, before I
went over there, Then I saw it happen. Tt really showed me that they are really tiny, tiny guys
with even tinier balls,

FLYNN |: Reagan?

WARRIOR |; What more can I say than what hundreds of thousands already did this past
week, It's to imagine that there will ever be a farewell more awesome, Not in my lifetime
anyway. Despicably, we know Clinton will try. At the end of my speeches I always ask those in
attendance to ask themselves a question that certainly all of the Founding people did. That
question is: “Will I do in my life what will live forever?” Ronald Reagan did. And neither it nor
what kind of man he was will ever be forgotten.

FLYNN | : How about John Kerry?

WARRIOR| : Seary and, to be truthful, traitorous. This country is already in troublesome
anti-Americanism up to its eyeballs. If he—or worse, the other Clinton becomes Fresident—
there won't be any boots that go the height to be safe from crap that deep.

FLYNN |: The war in Iraq.

WARRIOR): Disappointed and concerned, also proud. I don’t think for a minute that

Bush and Cheney and Rumsfeld, the entire Bush administration went over there just to have a
war to get a revengeful nut off about it all. But it does bother me, living here in a country as
great as we do, that the intelligence can be as screwed up as itis and we went over there and
did what we did. I would have never have went over there just to free the people of Iraq. I'm
upset enough that kids go to bed hungry in our own country. What atrocities there are around
the world aren't at the top of the list for me. I say stay here and take care, first, of our own. I'm
more the mind of a [Pat] Buchanan when it comes to what we are and what America is and
what we need to do with that power. These damn people over there have been fighting a war
since they were born. Not one American's life has been worth fighting this damn fight with
one arm tied behind our backs. Not one. But you know, too, you have to be proud of this
country and its military and what acts of honor it has shown around the world—especially the
young people. Damn what an example! So contrary to the young smart-alec degenerate punks
running on the streets here,

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FLYNN }: You laid out in the interview that you always hada plan for your life, What's the
plan for the next ten years?

WARRIOR): Did I say that? Huh... That's a very difficult one for me to answer precisely.
Years ago, the guy who's still my accountant and financial planner today asked me the same
type of question. Like haw I saw the future playing itself out, when did I want to retire, where
did I see myself five, ten, twenty years down the road. I told him then, and still think the same
way now, I didn’t really like much setting in stone where I am going to be so many years out,

Ido know that I will always be working and being creative, I will never retire foom being busy
doing that. I have a lot of different interests and could turn any one of them into a full time
career, Making money to pay the bills, build a secure financial future is a part of any plan I
have of course. But other things rank higher on the list. I want to continue speaking and
continue getting better at it. That different level of passion and intensity I have from others, J
believe, will make me a standout down the read. It’s just a matter of working at it, getting
Breater experience,

1 also want to write books. I spend a great deal of time writing now, working at getting better
at that. On average I am a good writer, but know too that I have written some really great
stuff. have a great story to tell about my experiences in pro wrestling, even more so because
of how those unique experiences, and all my other unique male life experiences up to that
point, brought me around te thinking about things the way I do—about mentoring and being
amale and a father, what it means to be a hero, and about Wester Civilization and this
country and its Founding,

At the 2003 [Conservative Political Action Conference], I met with [the conservative
publishing house] Regnery. I sent them two pumped up book proposals totally almost 300
pages. Itwas too much and too unrefined to be a proposal and I was ignorant about that. One
was for the autobiography, the other a male's viewpoint on conservative philosophy. They
turned me on to the editor who, I think, worked with you on your first book, David
Richardson. We hooked up, then he got busy on his new venture of becoming a literary agent
and I got busy with speaking and, well, life and all its other great things. I get into the
proposals and continuing the writing as much as I can, Spring came and we have property to
work here [in New Mexico], so that has kept be busy right now. The books are being worked
on in my mind all the time, but for the most part all has been in an on and off holding pattern,
By fall, by fall I think...

Watching my daughters grow up here in their first years is important to me and because of my
previous successes it's been a hucury I've been able to afford. My 3-year old daughter is
already doing phonics and learning Greek and Latin roots to words, s0 we spend time doing
that. These are important years for them, years that my wife and I know we don't want to mise
aut on, years we won't be able to get back once they are gone. When it’s all said and done,
there's nothing greater that I will ever do in my whole life than raise my kids right, mentor
them about the things that are truly important, prepare them to be able to handle effectively
life's challenges, the good and the bad. You do that by doing it, And that takes time and effort
O0 OUr part as parents,

FLYNN | : Ifyou could change two or three things about the way things are going these
ays, What two of three issues would you look at? Or even one.

WARRIOR| : We need to get back to a place where we don't tolerate PC. Too many
representing the conservative side in the public debates—the news and writers and other
punditry—don't follow through with their punches. The consequence is that these peaple are
compromising us right out of a country. I don't believe that about conservatives in general,
the ones out there in the real world making their lives and their families lives work. I think
they are sitting there thinking the same thing as me—Quit letting the PC and moral relativity
slide! Judge something! Fight for what] really believe! But as far as those faces and voices
getting the airtime to fight, they are wimpy and too PC themselves.

Conservatives have got to quit tolerating the moral relativity—that there are no right and
wrong, no true or false, no good or evil. Moral relativity is the greatest danger we face today,
People, today especially, will say that terrorism is the gravest danger we face, I say: not if we

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can't even call it the evil that it is. I've been hammering this home since my first speech at
CPAC 2003. In fact, I took a quote from your book, Why the Left Hates America and some
other books that told the same thing: there’s no place to go in a debate if people don't accept
rationality or reason, reality, what the truth is.

Even too many of the conservative kids, too many of them want to go out and make
compromises. Stay in the gray and refuse to call things as they are—black and white.

FLYNN | : How are you received when you speak at campuses?

WARRIOR |: Great. It's really been just great. I'm getting better each time I go out. That is
always a goal for me. I always leave evaluating what impact I've made. I'm pleased with what
I've done thus far, Keep in mind, Ultimate Warrior started out as Dingo Warrior. It took some
time to get to the full blown version, I plan to evolve in like fashion as a speaker. I know that I
affect people in drastic ways. I have the evidence of that—the proof—through the
communication that takes place after going out on a speaking engagement. I do sometimes
think that my black and white positions on things rubs young kids, even many of the
conservative activists, the wrong way—at first anyway.

Everything is really great working with those who run Young America's Foundation,
Everybody over there is awesome, but many of the young kids, even though ready to debate
political ideas inside the beltway, don't themselves live by a conservative philosophy of life or
understand the importance of doing so. And the politics they're interested in won't work if the
philosophy isn’t happening. I am very traditional, and define conservatism the same way—
traditionally, and I think, sometimes the young kids want to hear more about the current
news stuff that's fleeting, here one hour gone the next, rather than the substantive
philosophical elements of conservatism, which are vitally more important to building the
conservative world they claim they want to live in.

Anyway, my primary goal is to mentor, and I know that without question. It is not to, first,
make friends. It's my role as a grown man and as conservative activist who's concerned about
the world his kids will be growing up in. I'm going to stick with it. It's different from what
everybody else is doing and I know it will take me where I need to go in the movement.

FLYNN]: Are you optimistic for the future of conservative ideas? What's your forecast?

WARRIOR]: Well, you know, being involved, paying attention to it all is relatively new to
me. AS I said earlier, I haven't paid attention my whole life. Truth is, America is so powerful
you can have a great, prosperous, and secure life without ever paying attention, America
stands that tall. A few weeks ago I was at the Club 100 retreat YAF has and I was speaking to
Bay Buchanan. We were talking about the state of things, And I said that I didn't believe there
was an immediate cure to bring things hack around to the way of traditional conservatism as
her and 1 and others like us define it, by continuing to work at doing so as if we can just drop
into the middle of the mess in Washington and begin there.

People talk about government...and this gets back a little to what I just mentioned, that
conservatives have a tendency to pay more attention to topical stuff instead of the slow and
steady ways they need to conduct their own lives. They discuss political ideas like they can be
solved in a vacuum, Like solutions don't depend on first looking at how people conduct their
own lives, and what effects—negative or positive, constructive or destructive. And it just
doesn’t work that way. Like I say “Government won't work unless people do. Not work like g-
§, but work as the ‘beings’ they are, as in the sense that they operate their lives by an effective
philosophy of life,

Bay [Buchanan] said to me, “I don't know if we have that kind of time.” True, she may be right
about that and it made me chuckle. But any traditional conservative worth their weight
knows, life is long range, it's not quick-fix or cutting corners. To get back to the conservative
world I want my kids to grow up in, there's going to have to an entire regeneration. Farents
who think like I do are going have to rebuild this kind of existence through their own kids.
Teach them and America the difference between right and wrong. That's a very simple
answer, but we must begin that simply, And then, more seriously than facetiously, I tell the
young activists that when the time comes ta chose a mate, they need to forgo all the

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superficial and corporeal factors and chose a philosophical soulmate willing to fight for the
brand of conservatism they believe in, then mate and breed like rabbits. Have large families
and don't fall down on raising your kids as conservatives and Americans in its true sense.
When they get to be the age where they are going out into the world, go to choose a mate, they
won't make stupid choices and from there we just keep multiplying. Sounds funny, and I
always get a good laugh out of it. But think about it, it's the truth about what needs to he
done,

Young kids are at a time in their life right now that they need to build some habits that will
stick with them throughout their life. Like, for instance, reading, I asked the kids at the
[Young America’s Foundation] Club 100 retreat: “Who has read the Founding documents?
Out of forty kids one or two hands went up. Nobody raised their hand when I asked who had
read [Russell] Kirk's Conservative Mind. That blows me away and, well, I don't know, you tell
me, you've been at this longer than I have: What does that say about where we are?

Another thing they don't understand, that I certainly do at 45, is that at any moment along the
time line of your life you are the sum total of all your life experiences, your choices, and your
actions. The way we are so morally out of whack today is causing even some really good kids
with their heads screwed on straight to make some horrible decisions that will most certainly
eause them regret later in their life. All the promiscuity and openness to unconditional
physical contact and openness and compromise to silly ideas is just “dumbing,” as Patrick
Moynihan said, “deviancy down.” And the more it’s tolerated, the lower the expectations
become. You know when you are a little kid you learn the difference between pain and
Pleasure by reaching out to touch that hot stove? When you grow up the difference is
measured not physically but psychologically. The more wrong choices and acts you make at
moral crossroads when you are young add up to more regret and anxiety and frustration as
you get older. I wish I'd had someone take me behind the tool shed more and get that straight
in my head. And as a guy who desires to mentor young people properly, I wish there was a
way to have them get this as clearly as I want them to, Hey, my name is Warrior, I'll just keep
atit,

FLYNN]: l appreciate it Warrior. This was great.

WARRIOR| : You are welcome. I'm expecting great things out of you. Keep up the good
Kee

ight. Keep the books coming.

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your feedback in the comments section below each blog post. We heard from Warrior. Now
we want to hear from you, This concludes this interview, but stay tuned to FlynnFiles.com
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